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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ava Rose,                                      NO. CV-21-00775-PHX-JAT
10                  Plaintiff,
                                                   JUDGMENT IN A CIVIL CASE
11   v.
12   Dignity Health, et al.,
13                  Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.

17            IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
18   September 20, 2023, which granted the Motion for Summary Judgment, judgment is

19   entered in favor of defendant Dignity Health and against plaintiff. Plaintiff to take

20   nothing, and the complaint and action are dismissed.
21                                            Debra D. Lucas
                                              District Court Executive/Clerk of Court
22
23   September 20, 2023
                                              s/ Rebecca Kobza
24                                      By    Deputy Clerk
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